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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 BAYSHINE L. JONES,                                :
                                                   :
                Plaintiff,                         :     Hon. William J. Martini
                                                   :     Civil Action No. 22-1534
        v.                                         :
                                                   : PRETRIAL SCHEDULING ORDER
 ARS ACCOUNT RESOLUTION                            :
 SERVICES,                                         :
                                                   :
                Defendant.


       THIS MATTER having come before the Court for a scheduling conference on November
1, 2022; and pursuant to Rule 16 of the Federal Rules of Civil Procedure and for good cause shown:

       IT IS on this 1st day of November, 2022,

       ORDERED THAT:
                                      I.      DISCLOSURES

   1. Fed. R. Civ. P. 26 disclosures shall be exchanged by 11/10/2022.

                                        II.     DISCOVERY

   2. Fact discovery is to remain open through 3/31/2023. No discovery is to be issued or
      engaged in beyond that date, except upon application and for good cause shown.

   3. The parties may serve interrogatories limited to twenty-five (25) single questions. Such
      interrogatories, and initial requests for production of documents, as well as initial requests
      for admissions shall be served by 12/12/2022 and shall be responded to by 1/11/2023.

   4. The parties shall be limited to three (3) depositions. No objections to questions posed at
      depositions shall be made other than as to lack of foundation, form or privilege. See Fed.
      R. Civ. P. 32(d)(3)(A). No instruction not to answer shall be given unless a privilege is
      implicated.

   5. Any discovery dispute shall be brought to the Court’s attention in the first instance by letter
      or by telephone conference call immediately after the parties’ good faith attempt to resolve
      the dispute has failed. See L. Civ. R. 16.1(f)(1).
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  6. No discovery motion or motion for sanctions for failure to provide discovery shall be made
     without prior leave of Court.

  7. Any unresolved discovery disputes (other than those that arise during depositions) must be
     brought before the Court no later than 2/10/2023. The Court will not entertain applications
     concerning discovery matters, informally or otherwise, after this date and any objection
     will be deemed to have been waived. If an unresolved dispute arises at a deposition, then
     the parties shall contact the Chambers of the Undersigned for assistance during the
     deposition.

                    III.   DISCOVERY CONFIDENTIALITY ORDERS

  8. Any proposed confidentiality order agreed to by the parties must be submitted by
     12/29/2022 and must strictly comply with Fed. R. Civ. P. 26(c) and L. Civ. R. 5.3. See
     also Pansy v. Borough of Stroudsburg, 23 F.3d 772 (3d Cir. 1994); Glenmede Trust Co. v.
     Thompson, 56 F.3d 476 (3d Cir. 1995). Any such order must be clearly designated
     “Discovery Confidentiality Order.” Id.

  9. Any disputes over the entry of a discovery confidentiality order should be raised with the
     Undersigned pursuant to L. Civ. R. 37.1 following a good faith effort to meet and confer.
     See L. Civ. R. 5.3(b)(5); L. Civ. R. 37.1. The absence of a discovery confidentiality order
     is not a sufficient basis to withhold discovery. Pending the entry of a discovery
     confidentiality order and/or during the pendency of any dispute relating to the entry of a
     discovery confidentiality order, discovery shall proceed on a temporary attorney’s eyes
     only basis.

                              IV.     FUTURE CONFERENCES

  10. A telephone status conference shall be held before the undersigned on 2/27/2023 at 10:30
      A.M. Counsel for Plaintiff is directed to initiate the call to (973) 776-7700. If the
      conference is going to be conducted via dial-in, the parties are instructed to call Chambers
      once everyone is on the line and provide the dial-in information at that time. Dial-in
      numbers will not be accepted prior to the conference. The parties are to submit a joint
      status letter no later than 2/22/2023, itemizing the issues counsel would like to discuss in
      the upcoming conference.

  11. The Court may from time to time schedule conferences as may be required, either sua
      sponte or at the request of a party.

  12. Counsel should be prepared to discuss settlement at every conference with the Court. The
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     senior attorney in charge of the case must attend all settlement conferences and client(s)
     with full settlement authority are required to appear in-person at the conference. In cases
     involving insurance companies and other corporate or business entities, it is expected that
     the executive who will make the final decision regarding settlement will be the person
     available for the conference.

  13. Since all dates set forth herein are established with the assistance and knowledge of
      counsel, there will be no extensions except for good cause shown and by leave of the Court,
      even with consent of all counsel.

  14. A copy of every pleading, document or written communication with the Court shall be
      served on all other parties to the action. Any such communication which does not recite
      or contain a certification of such service may be disregarded by the Court.

                                        V.      MOTIONS

  15. Any motion to add new parties, whether by amended or third-party complaint, must be
      filed not later than 3/24/2023 and shall be made returnable on 4/17/2023.

  16. Any motion to amend the pleadings must be filed not later than 3/24/2023 and shall be
      made returnable on 4/17/2023.

  17. Any party intending to file a dispositive motion must first seek leave of the Court by way
      of a letter application. Any such letter application may not be filed prior to the completion
      of discovery and must be filed no later than 30 days after discovery closes. All calendar
      or dispositive motions, if permitted, shall comply with L. Civ. R. 7.1(b) and 78.1.

  18. Dispositive motions, if any, shall be filed by a date to be determined.

                                        VI.     EXPERTS

  19. All affirmative expert reports shall be delivered by a date to be determined. Any such
      report shall be in the form and content as required by Fed. R. Civ. P. 26(a)(2)(B).

  20. All responding expert reports shall be delivered by a date to be determined. Any such
      report shall be in the form and content as described above.

  21. All expert discovery shall be completed by a date to be determined.

  22. No expert shall testify at trial as to any opinions or base those opinions on fact not
      substantially disclosed in his or her report.
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  23. No expert shall testify at trial as to any opinions or base those opinions on fact not
      substantially disclosed in his or her report.


                          VII.    FINAL PRETRIAL CONFERENCE

  24. A final pretrial conference shall be conducted pursuant to Fed. R. Civ. P. 16(e) at a date
      and time to be assigned.

  25. Pursuant to paragraphs 14 and 15 of this Court’s form of Final Pretrial Order, all pretrial
      submissions must be served upon the Court forty-eight (48) hours prior to the final pretrial
      conference.

  26. All counsel are directed to assemble at the office of Plaintiff’s counsel not later than ten
      (10) days before the pretrial conference to prepare the proposed Final Pretrial Order in the
      form and content required by the Court, as well as the required pretrial submissions
      consisting of agreed-upon jury instructions, voir dire questions, verdict sheet, trial briefs
      and a neutral statement of the case to be read to the jury panel, all of which must be
      submitted forty-eight (48) hours before the final pretrial conference. Plaintiff’s counsel
      shall prepare the Pretrial Order and shall submit it to all other counsel for approval.

  27. With respect to non-jury trials, each party shall submit to the District Judge and to opposing
      counsel proposed Findings of Fact and Conclusions of Law, trial briefs and any
      hypothetical questions to be put to an expert witness on direct examination.

  28. The original of the Final Pretrial Order shall be delivered to Chambers not later than forty-
      eight (48) hours before the pretrial conference, along with all pretrial submissions and trial
      briefs. All counsel are responsible for the timely submission of the Pretrial Order and
      submission.

  29. FAILURE TO FOLLOW THIS ORDER WILL RESULT IN SANCTIONS
      PURSUANT TO Fed. R. Civ. P. 16(f) and Fed. R. Civ. P. 37.

                                                             s/ James B. Clark, III
                                                            JAMES B. CLARK, III
                                                            United States Magistrate Judge
